                  Case 22-10584-CTG               Doc 972       Filed 09/22/23         Page 1 of 5




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    FIRST GUARANTY MORTGAGE                                 )     Case No. 22-10584 (CTG)
    CORPORATION, et al.,1                                   )
                                                            )     (Jointly Administered)
                              Debtors.                      )
                                                            )

         NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
    SEPTEMBER 26, 2023 AT 11:00 A.M. (PREVAILING EASTERN TIME) BEFORE THE
     HONORABLE CRAIG T. GOLDBLATT IN THE U.S. BANKRUPTCY COURT, 824
              NORTH MARKET STREET, 6th FLOOR, COURTROOM 1,
                        WILMINGTON, DELAWARE 19801


    This hearing will be conducted in-person. All parties, including witnesses, are expected to
      attend in person unless permitted to appear via Zoom. Participation at the in-person
     court proceeding using Zoom is allowed only in the following circumstances: (i) a party
    who files a responsive pleading intends to make only a limited argument; (ii) a party who
      has not submitted a pleading but is interested in observing the hearing; or (iii) other
       extenuating circumstances as determined by Judge Goldblatt. All participants over
       Zoom must register in advance. Please register by September 25, 2023 at 4:00 p.m.

                    COURTCALL WILL NOT BE USED FOR THIS HEARING.

                        Please use the following link to register for this hearing:

                          https://debuscourts.zoomgov.com/meeting/register/vJIsf-
                                    Coqj4iHWA2jkjdy6avpVaQK3k7XIY

        After registering your appearance by Zoom, you will receive a confirmation email
                        containing information about joining the hearing.




1   The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The location
    of the corporate headquarters and the service address for First Guaranty Mortgage Corporation is 13901 Midway
    Road, Suite 102-334, Dallas, TX 75244.
                Case 22-10584-CTG        Doc 972     Filed 09/22/23     Page 2 of 5




I.      RESOLVED MATTERS

1.      Lynley VanSingel, Melanie Meyer and Jessie Palmer’s Motion to Modify Permanent
        Injunction of the Debtors’ Confirmed Chapter 11 Plan to Permit Prosecution of Pending
        Employment Suit (Filed August 22, 2023) [Docket No. 924]

        Response Deadline: August 29, 2023 at 4:00 p.m. (Extended by agreement of the
        parties to September 17, 2023 at 4:00 p.m. as to the Debtors and Liquidating Trustee.)

        Responses Received:

        A. Limited Objection of Pacific Investment Management Company LLC and PIMCO
           Investments LLC to the VanSingel Plaintiffs Motion to Modify Permanent Injunction
           (Filed August 29, 2023) [Docket No. 933]

        Related Documents:

        A. Certification of Counsel Submitting Revised Proposed Order (Filed September 22,
           2023) [Docket No. 971]

        Status: A Certification of Counsel has been filed. No hearing is needed unless the Court
                has any questions

2.      Third Omnibus Objection to Claims (Substantive) (Filed August 25, 2023) [Docket No.
        929]

        Response Deadline: September 19, 2023 at 4:00 p.m.

        Responses Received:

        A.       Ohio Department of Taxation’s Response in Opposition to Liquidation Trustee’s
                 Third Omnibus Objection to Claims (Filed September 5, 2023) [Docket No. 946]

        B.       Response by the Tennessee Department of Revenue to the Third Omnibus
                 Objection to Claims (Substantive) (Filed September 15, 2023) [Docket No. 964]

        Related Documents:

        A.       Notice of Submission of Proofs of Claim in Connection with the Third Omnibus
                 Objection to Misclassified Claims (Substantive) (Filed September 12, 2023)
                 [Docket No. 962]

        B.       Withdrawal of Ohio Department of Taxation’s Response in Opposition to
                 Liquidation Trustee’s Third Omnibus Objection to Claims (Filed September 19,
                 2023) [Docket No. 965]

        Status: The Liquidating Trustee anticipates filing a revised form of order under
                Certification of Counsel prior to the hearing. To the extent not resolved, any
                open claim objection will be continued to a date to be determined.


DOCS_DE:244935.8 28311/001                       2
                Case 22-10584-CTG       Doc 972     Filed 09/22/23     Page 3 of 5




II.     CONTESTED MATTERS

3.      Motion for Order Authorizing the Destruction of Certain Records Pursuant to Bankruptcy
        Code Sections 105 and 363 (Filed June 15, 2023) [Docket No. 834]

        Response Deadline:            June 22, 2023 at 4:00 p.m. (extended for various parties)

        Supplemental Deadline:        July 25, 2023 at 4:00 p.m. (Extended to July 26, 2023 at
                                      4:00 p.m. for BSI Financial Services and Federal National
                                      Mortgage Association.)

        Responses Received:

        A.       Objection of the Federal National Mortgage Association to the Liquidating
                 Trustee's Motion for Order Authorizing the Destruction of Certain Records
                 Pursuant to Bankruptcy Code Sections 105 and 363 (Filed June 22, 2023) [Docket
                 No. 840]

        B.       Servis One, Inc. d/b/a BSI Financial Services’s Objection to the Liquidating
                 Trustee's Motion for Order Authorizing the Destruction of Certain Records
                 Pursuant to Bankruptcy Code Sections 105 and 363 (Filed June 26, 2023) [Docket
                 No. 846]

        C.       Objection of Federal Home Loan Mortgage Corporation to the Motion for Order
                 Authorizing the Destruction of Certain Records Pursuant to Bankruptcy Code
                 Sections 105 and 363 (Filed June 27, 2023) [Docket No. 850]

        D.       Limited Objection of Lynley Vansingel, Melanie Meyer, and Jessie Palmer to
                 Motion for Order Authorizing the Destruction of Certain Records Pursuant to
                 Bankruptcy Code Sections 105 and 363 (Filed July 25, 2023) [Docket No. 887]

        E.       Supplemental Objection of Federal National Mortgage Association to the
                 Liquidating Trustee’s Motion for Order Authorizing the Destruction of Certain
                 Records Pursuant to Bankruptcy Code Sections 105 and 363 (Filed July 27, 2023)
                 [Docket No. 888]

        F.       Servis One, Inc. d/b/a BSI Financial Services’s Supplemental Objection to the
                 Liquidating Trustee's Motion for Order Authorizing the Destruction of Certain
                 Records Pursuant to Bankruptcy Code Sections 105 and 363 (Filed July 27, 2023)
                 [Docket No. 890]




DOCS_DE:244935.8 28311/001                      3
                Case 22-10584-CTG        Doc 972    Filed 09/22/23     Page 4 of 5




        Related Documents:

        A.       Liquidating Trustee's Amended Witness and Exhibit List for Hearing on June 29,
                 2023 at 2:30 P.M. (ET) (Filed June 29, 2023) [Docket No. 858]

        B.       Re-Notice of Hearing on Motion for Order Authorizing the Destruction of Certain
                 Records Pursuant to Bankruptcy Code Sections 105 and 363 (Filed July 11, 2023)
                 [Docket No. 877]

        C.       Re-Notice of Hearing on Motion for Order Authorizing the Destruction of Certain
                 Records Pursuant to Bankruptcy Code Sections 105 and 363 (Filed July 27, 2023)
                 [Docket No. 889]

        Replies Filed:

        A.       Omnibus Reply in Support of Motion for Order Authorizing the Destruction of
                 Certain Records in Accordance with the Confirmed Liquidating Plan and
                 Liquidating Trust Agreement and Pursuant to Bankruptcy Code Sections 105 and
                 363 (Filed July 5, 2023) [Docket No. 857-2]

                 a. Order Granting Motion For Leave to File a Late Reply in Support of Motion
                    for Order Authorizing the Destruction of Certain Records Pursuant to
                    Bankruptcy Code Sections 105 and 363 (Filed June 28, 2023) [Docket No.
                    870]

        Status: The Liquidating Trustee continues to work with the parties in an attempt to reach
        a resolution of this matter. At present, this matter is going forward. The Liquidating
        Trustee will rely on the witness and exhibit list previously filed in connection with this
        matter.




DOCS_DE:244935.8 28311/001                      4
                Case 22-10584-CTG   Doc 972     Filed 09/22/23   Page 5 of 5




  Dated: September 22, 2023             PACHULSKI STANG ZIEHL & JONES LLP


                                        /s/ Timothy P. Cairns
                                        Laura Davis Jones (DE Bar No. 2436)
                                        Timothy P. Cairns (DE Bar No. 4228)
                                        Mary F. Caloway (DE Bar No. 3059)
                                        919 North Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, Delaware 19899 (Courier 19801)
                                        Telephone: (302) 652-4100
                                        Facsimile: (302) 652-4400
                                        Email: ljones@pszjlaw.com
                                               tcairns@pszjlaw.com
                                                mcaloway@pszjlaw.com

                                        -and -

                                        DENTONS US LLP

                                        Samuel R. Maizel
                                        Tania M. Moyron
                                        601 S. Figueroa Street, #2500
                                        Los Angeles, CA 90017
                                        Telephone: (213) 623-9300
                                        Email: samuel.maizel@dentons.com
                                                tania.moyron@dentons.com

                                        -and-

                                        DENTONS US LLP

                                        David F. Cook
                                        1900 K Street, NW
                                        Washington, DC 20006
                                        Telephone: (202) 496-7500
                                        Email: david.f.cook@dentons.com

                                        Counsel for Debtors and Liquidating Trustee




DOCS_DE:244935.8 28311/001                5
